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                                                               FILED: March 18, 2008


                            UNITED STATES COURT OF APPEALS

                                   FOR THE FOURTH CIRCUIT

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                                       No. 07-4059 (L)
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA,

                                  Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, aka Goodie, aka Lonnie Ross,

                                  Defendant - Appellant



                                     ___________________

                                          O R D E R
                                     ___________________

              The Court denies the motion to relieve counsel from further

        representation on appeal.



                                                      For the Court - By Direction

                                                      /s/Patricia S. Connor, Clerk
